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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
      ERNEST DEWAYNE JONES,                   )
11                                            )         Case No.: CV 09-02158-CJC
                  Petitioner,                 )
12                                            )
            vs.                               )
13                                            )
                                              )         ORDER DECLARING
14
      KEVIN CHAPPELL, Warden of               )         CALIFORNIA’S DEATH PENALTY
      California State Prison at San Quentin, )         SYSTEM UNCONSTITUTIONAL
15                                            )         AND VACATING PETITIONER’S
                  Respondent.                 )         DEATH SENTENCE
16                                            )
                                              )
17                                            )
18

19

20          On April 7, 1995, Petitioner Ernest Dewayne Jones was condemned to death by the
21    State of California. Nearly two decades later, Mr. Jones remains on California’s Death
22    Row, awaiting his execution, but with complete uncertainty as to when, or even whether,
23    it will ever come. Mr. Jones is not alone. Since 1978, when the current death penalty
24    system was adopted by California voters, over 900 people have been sentenced to death
25    for their crimes. Of them, only 13 have been executed. For the rest, the dysfunctional
26    administration of California’s death penalty system has resulted, and will continue to
27    result, in an inordinate and unpredictable period of delay preceding their actual execution.
28    Indeed, for most, systemic delay has made their execution so unlikely that the death

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 1    sentence carefully and deliberately imposed by the jury has been quietly transformed into
 2    one no rational jury or legislature could ever impose: life in prison, with the remote
 3    possibility of death. As for the random few for whom execution does become a reality,
 4    they will have languished for so long on Death Row that their execution will serve no
 5    retributive or deterrent purpose and will be arbitrary.
 6

 7           That is the reality of the death penalty in California today and the system that has
 8    been created to administer it to Mr. Jones and the hundreds of other individuals currently
 9    on Death Row. Allowing this system to continue to threaten Mr. Jones with the slight
10    possibility of death, almost a generation after he was first sentenced, violates the Eighth
11    Amendment’s prohibition against cruel and unusual punishment.
12

13                                           BACKGROUND
14

15        A. Delay in California’s Death Penalty System
16

17           California juries have imposed the death sentence on more than 900 individuals
18    since 1978.1 Yet only 13 of those 900 have been executed by the State. Of the
19    remainder, 94 have died of causes other than execution by the State, 39 were granted
20    relief from their death sentence by the federal courts and have not been resentenced to
21

22

23    1
        In 1977, five years after the California Supreme Court first invalidated the State’s death
24    penalty statute, see People v. Anderson, 6 Cal. 3d 628 (1972), the California Legislature acted to
      reinstate the punishment. One year later, the current death penalty system took form, when
25
      voters passed Proposition 7, known as the Briggs Initiative, amending the death penalty statute
26    and significantly expanding the circumstances under which prosecutors could seek the death
      penalty. See California Commission on the Fair Administration of Justice, Final Report 120
27    (Gerald Uelmen ed., 2008) [“Commission Report”], available at http://www.ccfaj.org/
      documents/CCFAJFinalReport.pdf (“Under the death penalty statute now in effect, 87% of
28
      California’s first degree murders are ‘death eligible’ . . . .”).
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 1    death, and 748 are currently on Death Row, having their death sentence evaluated by the
 2    courts or awaiting their execution.2
 3

 4           The simplest explanation for the size of California’s Death Row is that in each year
 5    since 1978, more individuals have been sentenced to death than have been removed from
 6    Death Row. See Commission Report at 121 (showing historical growth in the size of
 7    California’s Death Row). As the size of California’s Death Row grows larger and larger,
 8    so too do the delays associated with it. Of the 748 inmates currently on California’s
 9    Death Row, more than 40 percent, including Mr. Jones, have been there longer than 19
10    years.3 Nearly all of them are still litigating the merits of their death sentence, either
11    before the California Supreme Court or the federal courts.4 See Appendix A.5
12
      2
13      See Cal. Dep’t of Corr. & Rehab., Condemned Inmate List (July 2014), available at
      http://www.cdcr.ca.gov/capital_punishment/docs/condemnedinmatelistsecure.pdf. Despite
14    having been granted relief by the federal courts, 10 of the 39 individuals are listed by the CDCR
15
      as being among the 748 inmates currently on Death Row. See id. In at least some of these
      cases, this may be explained by the State’s intention to again seek the death penalty against
16    these inmates in a new trial.
      3
17      See Cal. Dep’t of Corr. & Rehab., Condemned Inmate Summary List at 2 (June 2014)
      [“CDCR Summary”], available at http://www.cdcr.ca.gov/Capital_Punishment/docs/
18    CondemnedInmateSummary.pdf.
      4
19      Those sentenced to death in California proceed through a post-conviction review process that
      begins with a mandatory automatic appeal to the California Supreme Court. If that appeal is
20
      denied, an inmate may seek collateral review of the death sentence, again from the California
21    Supreme Court. If state habeas relief is denied, an inmate may then pursue collateral review of
      the death sentence from the federal courts. If relief is denied at each of these levels, then the
22    inmate may be executed.
      5
23      Between 1978 and 1997, 591 new death judgments were issued in California. See Cal. Dep’t
      of Justice, Criminal Justice Statistics Center, Homicide in California, 2011 at tbl. 35, available
24
      at http://oag.ca.gov/sites/all/files/agweb/pdfs/cjsc/publications/homicide/hm11/hm11.pdf.
25    Appendix A describes the current case status of 511 individuals sentenced in that time period. It
      does not include individuals whose death sentences were overturned by the California Supreme
26    Court, unless subsequently reinstated. Because most of the death sentences overturned by the
      California Supreme Court were overturned in the period between 1979 and 1986, inclusion of
27
      those sentences in Appendix A would not accurately reflect the current state of affairs in the
28    California death penalty system. See Commission Report at 120 n.21 (noting that between 1979
      and 1986, the California Supreme Court reversed 59 of 64 death judgments it reviewed, but that
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 1          For those whose challenge to the State’s death sentence is ultimately denied at each
 2    level of review, the process will likely take 25 years or more. See Gerald Uelmen, Death
 3    Penalty Appeals and Habeas Proceedings: The California Experience, 93 Marq. L. Rev.
 4    495, 496 (2009) (“Typically, the lapse of time between sentence and execution is twenty-
 5    five years, twice the national average, and is growing wider each year.”). The majority of
 6    that time will likely be spent litigating before the California Supreme Court. See Dkt.
 7    No. 109-3, Exh. 15 [“Laurence Decl.”] ¶ 15 (noting that for inmates who had their state
 8    habeas petitions decided between 2008 and 2014, the average delay between sentencing
 9    and disposition of the petition was 17.2 years). There is no evidence to suggest that the
10    trend is reversing.
11

12          Of course, the vast majority of those sentenced to death in California will not
13    actually be executed by the State. Indeed, the most common way out of California’s
14    Death Row is not death by State execution, but death by other means. Of the 511
15    individuals sentenced to death between 1978 and 1997, 79 died of natural causes, suicide,
16    or causes other than execution by the State of California. See Appendix A. Another 15
17    sentenced after 1997—or two more than the total number of inmates that have been
18    executed by California since the current death penalty system took form—have died of
19    non-execution causes.6 As California’s Death Row population gets older, that number is
20    sure to rise. See CDCR Summary at 1 (showing that nearly 20 percent of California’s
21    current Death Row population is over 60 years old).
22
      since that time, it has reversed death judgments less than 10 percent of the time). Appendix A
23
      also does not include individuals whose post-conviction proceedings have been stayed based on
24    their lack of mental competency to face the death penalty. Finally, Appendix A does not include
      individuals sentenced to death after 1997 because state proceedings are ongoing for all but a
25
      small handful, and none have completed the federal habeas process.
26    6
        See Cal. Dep’t of Corr. & Rehab., Condemned Inmates Who Have Died Since 1978 (2014)
      (showing that since 1978, 63 inmates have died of natural causes, 22 have committed suicide, 8
27
      have died of other causes, including drug overdose or violence on the exercise yard, and 1 has
28    been executed by another state), available at http://www.cdcr.ca.gov/Capital_Punishment/docs/
      CONDEMNEDINMATESWHOHAVEDIEDSINCE1978.pdf.
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 1           For those that survive the extraordinary wait for their challenge to be both heard
 2    and decided by the federal courts, there is a substantial chance that their death sentence
 3    will be vacated. As of June 2014, only 81 of the 511 individuals sentenced to death
 4    between 1978 and 1997 had completed the post-conviction review process. Of them, 32
 5    were denied relief by both the state and federal courts—13 were executed, 17 are
 6    currently awaiting execution, and two died of natural causes before the State acted to
 7    execute them.7 See Appendix A. The other 49—or 60 percent of all inmates whose
 8    habeas claims have been finally evaluated by the federal courts—were each granted relief
 9    from the death sentence by the federal courts.8 See id.
10

11    //
12    //
13

14
      7
         These 17 inmates are awaiting execution because since 2006, federal and state courts have
15
      enjoined executions by California. In 2006, the federal district court for the Northern District of
16    California enjoined the State from executing Death Row inmate Michael Morales on grounds
      that, as administered, the State’s lethal injection protocol “create[d] an undue and unnecessary
17    risk that an inmate will suffer pain so extreme” that it violated the Eighth Amendment’s
18
      prohibition against cruel and unusual punishment. See Morales v. Tilton, 465 F. Supp. 2d 972,
      974, 976–77 (N.D. Cal. 2006). The State subsequently amended the protocol, but because those
19    amendments were not promulgated in compliance with the State’s Administrative Procedures
      Act (APA), the Marin County Superior Court enjoined executions under them. See Morales v.
20
      Cal. Dep’t of Corr. & Rehab., 168 Cal. App. 4th 729, 732 (2008). In response to the ruling, the
21    State undertook to promulgate a lethal injection protocol through the APA’s rulemaking process.
      After the regulations went into effect in August 2010, Death Row inmate Mitchell Sims sued to
22    enjoin executions under the amended protocol, again for failure to comply with the APA. The
      state court agreed, invalidating the regulations for substantial failure to comply with the
23
      requirements of the APA, and permanently enjoining executions in California until the State is
24    able to adopt an execution protocol that complies with its own procedural law. See Sims v.
      Dep’t of Corr. & Rehab., 216 Cal. App. 4th 1059 (2013). California is therefore without any
25
      execution protocol by which to execute the 17 Death Row inmates who have been finally denied
26    relief by both the state and federal courts, or to execute any other inmates who may similarly be
      denied relief in the near future.
27    8
        The State resentenced 10 of these individuals to death, thus starting anew the post-sentencing
28    appeal process on the renewed sentences, though two have since died while on post-conviction
      review for the second time. See Appendix A.
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 1        B. The Nature of Delay in California’s System
 2

 3          The nature of the delay in California’s administration of its death penalty system
 4    has been comprehensively studied, including by the State itself. In 2004, the California
 5    State Legislature established the California Commission on the Fair Administration of
 6    Justice (the “Commission”), and tasked it with conducting a comprehensive review of the
 7    State’s justice system, including its administration of the death penalty. See Commission
 8    Report at 113–14. The Commission, a bipartisan panel which was composed of
 9    prosecutors, criminal defense attorneys, law enforcement officials, academics,
10    representatives of victim’s rights organizations, elected officials, and a judge, issued its
11    Final Report in June 2008. Its conclusion was a stern indictment of the State’s death
12    penalty system:
13
            California’s death penalty system is dysfunctional. The system is plagued with
14          excessive delay in the appointments of counsel for direct appeals and habeas
15
            corpus petitions, and a severe backlog in the review of appeals and habeas petitions
            before the California Supreme Court.
16

17    Id. at 114–15.9 The Commission is not alone in reaching this determination. In 2008,
18    then-Chief Justice of the California Supreme Court Ronald M. George offered the same
19    assessment. See Ronald M. George, Reform Death Penalty Appeals, L.A. Times, Jan. 7,
20    2008 (“The existing system for handling capital appeals in California is dysfunctional and
21    needs reform. The state has more than 650 inmates on death row, and the backlog is
22    growing.”) (cited in Commission Report at 164–65 n.3). Ninth Circuit Court of Appeals
23    Senior Judge Arthur L. Alarcón has suggested the same in his study of the issue. See
24    Arthur L. Alarcón & Paula M. Mitchell, Executing the Will of the Voters?: A Roadmap to
25

26    9
        Even the commissioners who dissented from the Commission Report agreed “wholeheartedly”
27    that “delay on appeal and in habeas corpus in state and federal court is excessive and frustrates
      the effective administration of the death penalty.” Commission Report at 164 (separate
28
      statement of Commissioners Totten, Boscovich, Cottingham, Dunbar, and Hill).
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 1    Mend or End the California Legislature’s Multi-Billion-Dollar Death Penalty Debacle,
 2    44 Loy. L.A. L. Rev. S41, S61 (2011) (describing California’s “broken” death penalty
 3    system).
 4

 5           In reaching these conclusions, the Commission and others have documented the
 6    source and nature of the delay in California’s death penalty system. Their studies
 7    confirm that delay is evident at each stage of the post-conviction review process,
 8    including from the time the death sentence is issued.
 9

10          1. Delay on Direct Appeal
11

12          In California’s death penalty system, delay sets in at the first step of post-
13    conviction review—direct appeal. California law mandates that after a death sentence is
14    imposed, it must be automatically appealed to the California Supreme Court for review.
15    See Cal. Penal Code § 1239. To pursue that appeal, indigent Death Row inmates are
16    entitled to the assistance of court-appointed counsel.10 See Cal. Penal Code § 1240. But
17    inmates must wait years—on average, between three and five years—until counsel is
18    appointed to represent them. See Commission Report at 122. Indeed, as of June 2014,
19    there were 71 Death Row inmates awaiting appointment of counsel for their direct
20    appeal. Dkt. No. 116 [“Laurence Supplemental Decl.”] ¶ 3. Unsurprisingly, until such
21    counsel is appointed, there is effectively no activity on the inmate’s case.
22

23          This delay is likely due to the severe shortage of qualified attorneys available to
24    accept appointment as counsel on direct appeal. To be appointed, attorneys must have at
25    least four years of active law practice, experience in felony appeals, completion of
26
      10
27       That a Death Row inmate is indigent is essentially a foregone conclusion. Of the 670 inmates
      on California’s Death Row in 2008, each was indigent and therefore entitled to the assistance of
28
      court-appointed counsel in the post-conviction review process. See Commission Report at 121.
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 1    training, and demonstrated proficiency in appellate skills. Commission Report at 132
 2    (citing Cal. Rule of Court Rule 8.605(d)). Notably, however, the Commission did not
 3    find a general dearth of lawyers able to meet these qualifications or willing to take on the
 4    representation of Death Row inmates. Rather, the Commission found the State’s
 5    underfunding of its death penalty system to be a key source of the problem. Id. For
 6    example, the Commission noted that despite the high volume of applicants willing to
 7    represent Death Row inmates from the security of an agency setting, the Office of the
 8    State Public Defender’s budget has been cut and its staff reduced. Id. (recommending
 9    that “[t]he most direct and efficient way to reduce the backlog of death row inmates
10    awaiting appointment of appellate counsel would be to again expand the Office of the
11    State Public Defender”). Similarly, as to appointments of private counsel, the
12    Commission found that the low rate at which private appointed counsel are paid by the
13    State is “certainly a significant factor in the decline of the pool of attorneys available to
14    handle death penalty appeals.” Id; see also Arthur L. Alarcón, Remedies for California’s
15    Death Row Deadlock, 80 S. Cal. L. Rev. 697, 734 (2007) [“Alarcón Study”] (“Private
16    practitioners who can bear the financial sacrifice of accepting court-appointment at the
17    present hourly rates are scarce.”).
18

19          Once counsel is eventually appointed, that counsel must learn the trial record,
20    which often totals more than 9,000 pages, must research the law, and must file an
21    opening brief with the California Supreme Court. See Commission Report at 131.
22    Including the time spent by the State to file a responsive brief, and by counsel for the
23    inmate to file a reply brief, the briefing process will typically consume under four years.
24    Id. The parties must then wait for the case to be scheduled for argument before the
25    California Supreme Court. On average, the California Supreme Court generally hears
26    between 20 and 25 death penalty appeals per year, and so another two to three years will
27    likely pass before arguments are scheduled and the case is subsequently decided. Id.
28    Taken together then, from the sentence of death to the California Supreme Court’s

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 1    disposition of the automatic appeal, between 11.7 and 13.7 years will have elapsed, see
 2    id., with inmates spending much of that time waiting for counsel to be appointed and for
 3    oral argument to be scheduled.
 4

 5          2. Delay on State Collateral Review
 6

 7          Whereas on direct review the inmate challenges issues raised at the trial and
 8    sentencing, on collateral review the inmate may attack the legality of his confinement
 9    based on issues that normally cannot be determined in the direct appeal process,
10    including claims of ineffective assistance of counsel at trial. As on direct appeal, indigent
11    Death Row inmates are entitled to the assistance of state-appointed counsel to pursue
12    their habeas petitions. See Cal. Gov’t Code § 68662. Unless the inmate requests that the
13    same counsel provide representation both on direct appeal and during collateral review,
14    California law directs that different counsel be appointed at each stage. Cal. Gov’t Code
15    § 68663. The majority of counsel appointed in capital habeas cases are private attorneys,
16    though a number of inmates receive the assistance of the Habeas Corpus Resource Center
17    (“HCRC”), the entity created by the Legislature to provide habeas representation to
18    Death Row inmates.11 See Laurence Decl. ¶ 11 (in fiscal years 2005 to 2012, the HCRC
19    was appointed, on average, in 43 percent of state habeas cases).
20

21    //
22

23    11
         Whether an inmate receives the assistance of the HCRC or a private attorney may
24    significantly affect the extent of delays in the inmate’s post-conviction review proceedings.
      Whereas the HCRC may be able to provide continuous representation in both the inmate’s state
25
      and federal habeas claims, the same is not true of private attorneys appointed to represent Death
26    Row inmates in their state habeas proceedings, who generally do not continue to provide
      representation in federal proceedings as well. See Commission Report at 137. As the
27    Commission found, “[c]ontinuity of representation by the same lawyer in both state and federal
      habeas corpus proceedings helps to reduce many of the delays that now occur in state and
28
      federal habeas proceedings.” Id.
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 1          The California Supreme Court has noted that “[i]deally, the appointment of habeas
 2    corpus counsel should occur shortly after an indigent defendant’s judgment of death” so
 3    as to “enable habeas corpus counsel to investigate potential claims for relief and to
 4    prepare a habeas corpus petition at roughly the same time that appellate counsel is
 5    preparing an opening brief on appeal.” In re Morgan, 50 Cal. 4th 932, 937 (2010). An
 6    expeditious appointment “would ensure the filing of a habeas corpus petition soon after
 7    completion of the briefing on the appeal.” Id. Yet as of June 2014, 352 inmates—nearly
 8    half of Death Row—were without habeas corpus counsel. See Laurence Decl. ¶ 7. And
 9    that number is up from 291 inmates awaiting appointment of habeas counsel in 2008. See
10    Commission Report at 134; see also Laurence Decl. tbl. 1 (showing that in all but one
11    year since 1999, the total number of Death Row inmates awaiting the appointment of
12    habeas counsel has increased). The growing backlog of appointments can again be traced
13    to underfunding issues similar to those on direct appeal. See Commission Report at 135
14    (describing the below-market rates at which appointed habeas counsel are paid, and the
15    low cap on funds made available to conduct habeas investigations and retain necessary
16    experts); Alarcón Study at 738 (same). And unless the State is able to reverse the current
17    trend, the backlog of Death Row inmates awaiting habeas counsel will only continue to
18    grow. See Laurence Supplemental Decl. ¶ 5 (noting that over the past five years, the
19    State has issued an average of 22.8 death judgments per year compared with only 9.4
20    annual appointments of habeas counsel over the same period).
21

22          The Commission found in 2008 that, far from meeting the California Supreme
23    Court’s ideal, habeas counsel is generally not appointed until between eight and ten years
24    after the imposition of the death sentence. See Commission Report at 134. And the
25    length of delay is growing. Currently, of the 352 inmates without habeas counsel, 159
26    have been awaiting appointment of such counsel for more than ten years. See Laurence
27    Supplemental Decl. ¶ 4; Laurence Decl. ¶ 8. Further, there are 76 inmates whose direct
28    appeals have been fully denied by the California Supreme Court but still lack habeas

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 1    counsel. See Laurence Supplemental Decl. ¶ 4. They have already waited an average of
 2    15.8 years after the imposition of their death sentence for habeas counsel to be appointed,
 3    and are still waiting. Id.
 4

 5           Once habeas counsel is appointed, that counsel must learn the trial record,
 6    investigate any potential constitutional or statutory claims, and file the habeas petition
 7    with the California Supreme Court.12 To be presumed timely, the petition must be filed
 8    either within 180 days after the final due date for filing the appellant’s reply brief on
 9    direct appeal or within 36 months after the appointment of habeas counsel, whichever is
10    later.13 Then, in most cases, the State will only file an informal reply to the petition
11    before it is decided by the California Supreme Court. See Laurence Decl. ¶ 17 (noting
12    that of the 729 habeas petitions resolved on the merits by the California Supreme Court
13    since 1978, the court has issued orders to show cause, requiring the Attorney General to
14    formally respond to the petition, in only 99 cases, and held evidentiary hearings only 45
15    times).
16

17           In 2008, the Commission estimated that after a habeas petition was filed, it would
18    take the California Supreme Court 22 months on average to decide it. See Commission
19

20
      12
         Given that habeas petitions at both the state and federal level often include claims of
21
      ineffective assistance of counsel, the appointed habeas counsel is often required to reinvestigate
22    the inmate’s case to discover whether any additional mitigating evidence might have been
      presented to the jury, but was not for lack of adequate representation during the guilt and penalty
23    phases of the inmate’s trial. See Commission Report at 133–34. As noted above, however, such
      investigation may be hampered by underfunding, which may in turn further delay the federal
24
      habeas process. See id. at 135; Alarcón Study at 738.
25    13
         See Supreme Court Policies Regarding Cases Arising from Judgments of Death, Policy 3,
26    Timeliness Standard 1-1.1 (as amended Nov. 30, 2005), available at http://www.courts.ca.gov/
      documents/PoliciesMar2012.pdf. At the time Mr. Jones filed his state habeas petition in 2002,
27    the Policy required the petition to be filed within 90 days after the final due date for the filing of
      the appellant’s reply brief on direct appeal or within 24 months after the appointment of habeas
28
      counsel, whichever is later.
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 1    Report at 134. But that delay has more than doubled since the Commission’s report was
 2    issued. Of the 176 capital habeas petitions currently pending before the California
 3    Supreme Court, the average amount of time that has elapsed since each petition was filed
 4    is 49 months. Laurence Supplemental Decl. ¶ 6. Similarly, of the 68 capital habeas
 5    petitions the court has decided since 2008, it has taken an average of 47.8 months for the
 6    California Supreme Court to issue a decision once each petition was fully briefed.
 7    Laurence Decl. ¶ 14. In all, by the time the inmate’s state habeas petition is decided, he
 8    will likely have spent a combined 17 years or more litigating his direct appeal and
 9    petition for state habeas review before the California Supreme Court. 14 See id. ¶ 15.
10

11          3. Delay on Federal Collateral Review
12

13          When an inmate’s state habeas petition is denied, the inmate may seek relief in
14    federal court by alleging that the State has violated his federal constitutional rights.
15    Federal habeas proceedings are significantly affected by the habeas proceedings before
16    the state court. Federal courts are generally limited in their review by the legal and
17    factual determinations of the state court. 28 U.S.C. § 2254(d). Moreover, if an inmate
18    discovers new facts in the federal proceeding that were not before the California Supreme
19    Court when it decided the state habeas petition, that inmate must generally halt the
20    federal proceeding and return to the California Supreme Court by way of an exhaustion
21

22

23
      14
         When the California Supreme Court does rule on a capital habeas petition, it usually does so
24
      by way of a summary unpublished opinion. For example, the California Supreme Court denied
25    Mr. Jones’s habeas petition in a mere 202 words, excluding citations. See Jones (Ernest
      Dewayne) on H.C., No. S110791 (Cal. Mar. 11, 2009, amended Mar. 16, 2009), available at
26    http://appellatecases.courtinfo.ca.gov/search/case/dockets.cfm?dist=0&doc_id=1842470&doc_n
      o=S110791. The Commission noted that much of the delay in federal habeas proceedings “is
27
      attributable to the absence of a published opinion and/or an evidentiary hearing in the state
28    courts” because “[o]ften, the federal courts cannot ascertain why state relief was denied.”
      Commission Report at 123.
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 1    petition to present to it the new facts and exhaust the state remedy. See 28 U.S.C.
 2    § 2254(b).
 3

 4           As of 2008, the complete federal habeas review process, including initial review by
 5    the district court, appeal to the Ninth Circuit, and possible petitions for en banc and
 6    Supreme Court review, took an average of 10.4 years. See Commission Report at 123,
 7    137. While certainly lengthy, “[m]uch of the delay in federal habeas corpus proceedings
 8    . . . is attributable to the need to exhaust state remedies and to conduct investigations.”
 9    Alarcón Study at 750. For example, since 1978, Death Row inmates have filed 268
10    exhaustion petitions in the California Supreme Court after initiating federal habeas
11    proceedings. Laurence Supplemental Decl. ¶ 7; see also Alarcón Study at 749 (noting
12    that approximately 74 percent of federal habeas proceedings are stayed at some point
13    during the proceeding for exhaustion of state remedies). The average time that elapses
14    before that exhaustion petition is decided by the California Supreme Court is 3.2 years.
15    Laurence Supplemental Decl. ¶ 7; see also Alarcón Study at 749 (finding that, as of 2007,
16    “[t]he average delay for the exhaustion of state remedies before the California Supreme
17    Court [was] 2.8 years”).
18

19           Ultimately, since 1978 only 81 inmates—of the more than 900 individuals
20    sentenced to death in California—have received a final determination on the merits of
21    their federal habeas petitions.15 Less than half of those 81 have been denied relief at all
22    levels, and only 13 have actually been executed. See Appendix A. Of the 17 that are
23    currently awaiting their execution, each has been on Death Row for more than 25 years,
24    and eight have been there for more than 30 years. Id. More inmates will ultimately be
25

26    15
         This number includes two inmates who technically never had their petitions decided by the
27    federal courts because they voluntarily withdrew their petitions, choosing to be executed
      immediately by the State rather than have their habeas petitions finally decided by the federal
28
      courts.
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 1    denied relief at each stage of review, but when or whether they will be executed is
 2    unclear. Indeed, not one inmate has been executed in California since 2006. See id.
 3

 4       C. Mr. Jones’s Claim
 5

 6          After Mr. Jones was sentenced to death in April 1995, he waited approximately
 7    four years before the State appointed counsel to represent him in his direct appeal. Then,
 8    another four years later, on March 17, 2003, the California Supreme Court affirmed Mr.
 9    Jones’s conviction. People v. Jones, 29 Cal. 4th 1229 (2003). After certiorari was denied
10    by the United States Supreme Court, the judgment became final on October 21, 2003.
11    Jones v. California, 540 U.S. 952 (2003). In total, Mr. Jones spent about eight years
12    litigating his direct appeal before the California Supreme Court—considerably less time
13    than the 12 to 14 years spent by most individuals on California’s Death Row.
14

15          Mr. Jones’s state habeas counsel was appointed on October 20, 2000, five years
16    after he was sentenced to death and while he was still litigating his direct appeal. By
17    October 21, 2002, Mr. Jones’s counsel—the Habeas Corpus Resource Center, which
18    continues to represent him in this federal habeas proceeding—filed his state habeas
19    petition. Six and a half years later, and over five years after the petition was fully briefed,
20    on March 11, 2009 the California Supreme Court denied Mr. Jones’s petition in an
21    unpublished order. No hearing was conducted, and no briefing was provided by the State
22    beyond an informal reply.
23

24          Finally, on March 10, 2010, Mr. Jones filed his petition for federal habeas relief.
25    See Dkt. No. 26. Briefing on the petition was completed in January 2014, and the Court
26    is reviewing his claims. On April 28, 2014, Mr. Jones amended Claim 27 of his petition
27    to broaden the nature of his claim of unconstitutional delay in California’s administration
28    of its death penalty system. See Dkt. No. 105 [“First Am. Pet.”]. Mr. Jones’s new claim

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 1    asserts that as a result of systemic and inordinate delay in California’s post-conviction
 2    review process, only a random few of the hundreds of individuals sentenced to death will
 3    be executed, and for those that are, execution will serve no penological purpose. Id.
 4

 5                                            ANALYSIS
 6

 7          The Eighth Amendment prohibits the imposition of cruel and unusual punishment
 8    by the state. Although reasonable people may debate whether the death penalty offends
 9    that proscription, no rational person can question that the execution of an individual
10    carries with it the solemn obligation of the government to ensure that the punishment is
11    not arbitrarily imposed and that it furthers the interests of society. As the American
12    tradition of law has long recognized, death is a punishment different in kind from any
13    other. See, e.g., Harmelin v. Michigan, 501 U.S. 957, 995 (1991) (noting the “qualitative
14    difference between death and all other penalties”); Coleman v. McCormick, 874 F.2d
15    1280, 1288 (9th Cir. 1989) (“The finality and severity of a death sentence makes it
16    qualitatively different from all other forms of punishment.”). Indeed, in its finality, the
17    punishment of death “differs more from life imprisonment than a 100-year prison term
18    differs from one of only a year or two. Because of that qualitative difference, there is a
19    corresponding difference in the need for reliability in the determination that death is the
20    appropriate punishment in a specific case.” Woodson v. North Carolina, 428 U.S. 280,
21    305 (1976).
22

23          Recognizing that solemn obligation, in 1972 the United States Supreme Court
24    invalidated the death sentences of the three petitioners appearing before it, and signaled
25    that as it was then being imposed across much of the country, the death penalty violated
26    the Eighth Amendment. See Furman v. Georgia, 408 U.S. 238 (1972) (per curiam). In
27    Furman, the Court encountered state sentencing schemes by which judges and juries
28    were afforded virtually untrammeled discretion to decide whether to impose the ultimate

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 1    sanction. The result was that the death penalty was being imposed in an at best random
 2    manner against some individuals, with “no meaningful basis for distinguishing the few
 3    cases in which it [was] imposed from the many cases in which it [was] not.” See id. at
 4    313 (White, J., concurring). While no majority opinion controlled in Furman, the
 5    Supreme Court agreed that such an outcome was abhorrent to the Constitution, holding
 6    that the death penalty “could not be imposed under sentencing procedures that created a
 7    substantial risk that it would be inflicted in an arbitrary and capricious manner.” See
 8    Gregg v. Georgia, 428 U.S. 153, 188 (1976) (plurality opinion) (describing Furman’s
 9    holding). Put another way, the Constitution quite simply “cannot tolerate the infliction of
10    a sentence of death under legal systems that permit this unique penalty to be so wantonly
11    and so freakishly imposed.” Furman, 408 U.S. at 310 (Stewart, J., concurring). In the 40
12    years since Furman, the Supreme Court has never retreated from that fundamental
13    principle.
14

15          The Furman decision was rooted in part in the Court’s recognition that arbitrary
16    imposition of the death penalty could not justly further the penological goals of society—
17    deterrence and retribution. See id. at 312 (White, J., concurring) (“At the moment that
18    [the death penalty] ceases realistically to further these purposes, . . . its imposition would
19    then be the pointless and needless extinction of life with only marginal contributions to
20    any discernible social or public purposes. A penalty with such negligible returns to the
21    State would be patently excessive and cruel and unusual punishment violative of the
22    Eighth Amendment.”). Indeed, in Gregg v. Georgia, when the Supreme Court lifted what
23    had become Furman’s de facto moratorium on the death penalty, it did so with the
24    understanding that such punishment should serve these “two principal social purposes.”
25    428 U.S. at 183. Since that time, the Supreme Court has harkened back to these twin
26    purposes to guide its evaluation of challenges to the death penalty under the Eighth
27    Amendment. See, e.g., Kennedy v. Louisiana, 554 U.S. 407, 441 (2008) (“[C]apital
28    punishment is excessive when it is grossly out of proportion to the crime or it does not

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 1    fulfill the two distinct social purposes served by the death penalty: retribution and
 2    deterrence of capital crimes.”). They are bedrock principles of the Constitution’s promise
 3    to not permit the infliction of cruel and unusual punishment by the State.
 4

 5       A. Arbitrariness in California’s Death Penalty System
 6

 7          California’s death penalty system is so plagued by inordinate and unpredictable
 8    delay that the death sentence is actually carried out against only a trivial few of those
 9    sentenced to death. Of the more than 900 individuals that have been sentenced to death
10    since 1978, only 13 have been executed. For every one inmate executed by California,
11    seven have died on Death Row, most from natural causes. The review process takes an
12    average of 25 years, and the delay is only getting longer. Indeed, no inmate has been
13    executed since 2006, and there is no evidence to suggest that executions will resume in
14    the reasonably near future. Even when executions do resume, the current population of
15    Death Row is so enormous that, realistically, California will still be unable to execute the
16    substantial majority of Death Row inmates. In fact, just to carry out the sentences of the
17    748 inmates currently on Death Row, the State would have to conduct more than one
18    execution a week for the next 14 years. Such an outcome is obviously impossible for
19    many reasons, not the least of which is that as a result of extraordinary delay in
20    California’s system, only 17 inmates currently on Death Row have even completed the
21    post-conviction review process and are awaiting their execution. See Appendix A. For
22    all practical purposes then, a sentence of death in California is a sentence of life
23    imprisonment with the remote possibility of death—a sentence no rational legislature or
24    jury could ever impose.
25

26          Of course, for an arbitrarily selected few of the 748 inmates currently on Death
27    Row, that remote possibility may well be realized. Yet their selection for execution will
28    not depend on whether their crime was one of passion or of premeditation, on whether

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 1    they killed one person or ten, or on any other proxy for the relative penological value that
 2    will be achieved by executing that inmate over any other. Nor will it even depend on the
 3    perhaps neutral criterion of executing inmates in the order in which they arrived on Death
 4    Row. Rather, it will depend upon a factor largely outside an inmate’s control, and wholly
 5    divorced from the penological purposes the State sought to achieve by sentencing him to
 6    death in the first instance: how quickly the inmate proceeds through the State’s
 7    dysfunctional post-conviction review process.
 8

 9          Mr. Jones’s case is illustrative. Mr. Jones is now in his fifth year of federal review,
10    and given that the final briefing on the merits of his claims was completed in January, a
11    decision from this Court could be rendered by the end of the year. On average, review at
12    the Ninth Circuit will take another 2.2 years. See Commission Report at 123.
13    Accounting then for the time spent seeking en banc review from the Circuit and certiorari
14    from the United States Supreme Court, and assuming relief is denied at every level, the
15    federal stay on Mr. Jones’s execution could be lifted and he could be ready for execution
16    within three or four years—about 23 years after he was first sentenced to death.
17

18          By comparison, of the 380 inmates included in Appendix A who are currently on
19    Death Row, 285 have been there longer than Mr. Jones. See Appendix A; see also
20    CDCR Summary at 2 (showing that about 40 percent of all inmates have been on Death
21    Row longer than Mr. Jones). Over a third of them are engaged in state court proceedings.
22    See Appendix A (showing that 109 of the 285 inmates who have been on Death Row
23    longer than Mr. Jones have state proceedings ongoing). In all likelihood, given the
24    delays in the post-conviction review process, most of them will never face execution as a
25    realistic possibility, unlike Mr. Jones. Similarly, of the 38 Death Row inmates who like
26    Mr. Jones were sentenced to death in 1995, only 7, including Mr. Jones, have completed
27    the state habeas review process. See id. Were his petition denied today, Mr. Jones would
28    be one of three inmates sentenced in 1995 to have his federal habeas petition under

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 1    review by the Ninth Circuit, effectively the last available stage before execution. Again,
 2    because of the inordinate delays inherent in California’s system, many of the rest will
 3    never be executed. They will instead live out their lives on Death Row. See Gerald
 4    Uelmen, Death Penalty Appeals and Habeas Proceedings: The California Experience, 93
 5    Marq. L. Rev. 495, 496 (2009) (“For all practical purposes, a sentence of death in
 6    California is a sentence of life imprisonment without the possibility of parole.”).
 7

 8          For Mr. Jones to be executed in such a system, where so many are sentenced to
 9    death but only a random few are actually executed, would offend the most fundamental
10    of constitutional protections—that the government shall not be permitted to arbitrarily
11    inflict the ultimate punishment of death. See Furman, 408 U.S. at 293 (Brennan, J.,
12    concurring) (“When the punishment of death is inflicted in a trivial number of the cases
13    in which it is legally available, the conclusion is virtually inescapable that it is being
14    inflicted arbitrarily. Indeed, it smacks of little more than a lottery system.”). To be sure,
15    Furman specifically addressed arbitrariness in the selection of who gets sentenced to
16    death. But the principles on which it relied apply here with equal force. The Eighth
17    Amendment simply cannot be read to proscribe a state from randomly selecting which
18    few members of its criminal population it will sentence to death, but to allow that same
19    state to randomly select which trivial few of those condemned it will actually execute.
20    Arbitrariness in execution is still arbitrary, regardless of when in the process the
21    arbitrariness arises.
22

23       B. The Penological Purpose of California’s Death Penalty System
24

25          The systemic delay and dysfunction that result in the arbitrary execution of
26    California’s Death Row inmates give rise to a further constitutional problem with the
27    State’s administration of its death penalty system. In California, the execution of a death
28    sentence is so infrequent, and the delays preceding it so extraordinary, that the death

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 1    penalty is deprived of any deterrent or retributive effect it might once have had. Such an
 2    outcome is antithetical to any civilized notion of just punishment.
 3

 4          1. Deterrence
 5

 6          Whether the death penalty has any deterrent effect when administered in a
 7    functional system is a widely contested issue upon which no clear empirical consensus
 8    has been reached. But even when administered in a functional system, few could dispute
 9    that long delays preceding execution frustrate whatever deterrent effect the death penalty
10    may have. Indeed, the law, and common sense itself, have long recognized that the
11    deterrent effect of any punishment is contingent upon the certainty and timeliness of its
12    imposition. See, e.g., Harmelin, 501 U.S. at 989 (“[D]eterrent effect depends not only
13    upon the amount of the penalty but upon its certainty . . . .”); United States v. Panico, 308
14    F.2d 125, 128 (2d Cir. 1962) (“There can be little doubt that the effectiveness of
15    punishment as a deterrent is related not only to the quality of the possible punishment but
16    to the certainty and promptness as well.”), vacated on other grounds, 375 U.S. 29 (1963);
17    see also Commission Report at 115 n.8 (agreeing that “[i]f there is a deterrent value [to
18    the death penalty], . . . it is certainly dissipated by long intervals between judgment of
19    death and its execution”). In the death penalty context, where finality of punishment is
20    not achieved until the actual execution of the inmate, the case is no different.
21

22          In California, the system in which the death penalty is administered can only be
23    described as completely dysfunctional. The delay inherent in California’s system is so
24    extraordinary that it alone seriously undermines the continued deterrent effect of the
25    State’s death penalty. See Chief Justice Ronald George Reflects on Death Penalty, Prop.
26    8, The California Report, Dec. 6–8, 2013 (“[O]ne of the rationales for the death penalty is
27    a deterrent effect that it . . . has on a certain number of cases, . . . and when there’s so
28    much delay as there is now—25 years’ worth is the average stay on death row—I think it

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 1    loses its justification.”).16 But delay is not the only problem. Executions by the State are
 2    so few and far between that since 1978, of the 900 individuals sentenced to death in
 3    California, only 13 have been executed. The reasonable expectation of an individual
 4    contemplating a capital crime in California then is that if he is caught, it does not matter
 5    whether he is sentenced to death—he realistically faces only life imprisonment. Under
 6    such a system, the death penalty is about as effective a deterrent to capital crime as the
 7    possibility of a lightning strike is to going outside in the rain.17
 8

 9            2. Retribution
10

11            Just as inordinate delay and unpredictability of executions eliminate any deterrent
12    effect California’s death penalty might have, so too do such delay and unpredictability
13    defeat the death penalty’s retributive objective. It is true that the Supreme Court has
14    consistently affirmed the view that retribution, as “an expression of society’s moral
15    outrage at particularly offensive conduct,” is a constitutionally permissible aim of capital
16    sentencing schemes. See Gregg, 428 U.S. at 183. But no reasonable jurist could dispute
17    that inordinate delay frustrates that aim. See Coleman, 451 U.S. at 960 (Rehnquist, J.,
18    dissenting from the denial of certiorari) (“There can be little doubt that delay in the
19    enforcement of capital punishment frustrates the purpose of retribution.”); Ceja v.
20    Stewart, 134 F.3d 1368, 1374 (9th Cir. 1998) (Fletcher, J., dissenting) (“[T]he ability of
21

22
      16
           Available at http://www.californiareport.org/archive/R201312061630/c.
23    17
         In 1995, the same year Mr. Jones was sentenced to death, now-Chief Judge of the Ninth
24    Circuit Court of Appeals Alex Kozinski commented that as it then existed in the United States,
      the “death penalty . . . has no deterrent value because it is imposed so infrequently and so
25
      freakishly.” See Alex Kozinski & Sean Gallagher, Death: The Ultimate Run-On Sentence,
26    Lecture, 46 Case W. Res. L. Rev. 1, 25 (Fall 1995). In the nearly 20 years since, the evidence is
      clear that the problem has only gotten worse. California has made true then-Justice Rehnquist’s
27    remark—perhaps hyperbolic at the time—that “the existence of the death penalty in this country
      is virtually an illusion.” See Coleman v. Balkcom, 451 U.S. 949, 957–58 (1981) (Rehnquist, J.,
28
      dissenting from the denial of certiorari).
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 1    an execution to provide moral and emotional closure to a shocked community
 2    diminishe[s] as the connection between crime and punishment [becomes] more attenuated
 3    and more arbitrary.”); Lewis Powell, Capital Punishment, Commentary, 102 Harv. L.
 4    Rev. 1035, 1041 (1989) (“The retributive value of the death penalty is diminished as
 5    imposition of sentence becomes ever farther removed from the time of the offense.”).
 6

 7          In California, a Death Row inmate will likely wait at least 25 years before his
 8    execution becomes even a realistic possibility. Were such lengthy delay an isolated, or
 9    even necessary, circumstance of a system that otherwise acts purposefully to give
10    meaning to society’s moral outrage, the retributive purpose of the death penalty might
11    continue to be served. Here, however, the delay is systemic, and the State itself is to
12    blame. The State has allowed such dysfunction to creep into its death penalty system that
13    the few executions it does carry out are arbitrary. Whereas few have been or will
14    eventually be executed by California, the vast majority of individuals sentenced to
15    death—each of whom, in the State’s view, committed crimes sufficiently reprehensible to
16    warrant death—will effectively serve out terms of life imprisonment. See Appendix A.
17    This reality of delay and dysfunction created by the State simply cannot be reconciled
18    with the asserted purpose of retribution. See Furman, 408 U.S. at 304–05 (Brennan, J.,
19    concurring) (“The asserted public belief that murderers . . . deserve to die is flatly
20    inconsistent with the execution of a random few.”); id. at 311 (White, J., concurring)
21    (“[W]hen imposition of the [death] penalty reaches a certain degree of infrequency, it
22    would be very doubtful that any existing general need for retribution would be
23    measurably satisfied.”).
24

25       C. Petitioners’ Fault in Creating Delay
26

27          As the State correctly notes, courts have thus far generally not accepted the theory
28    that extraordinary delay between sentencing and execution violates the Eighth

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 1    Amendment. See, e.g., People v. Anderson, 25 Cal. 4th 543, 606 (2001) (“[A]ppellate
 2    delay in a capital case is not cruel and unusual punishment.”). When courts have rejected
 3    the theory, however, they have often not addressed whether any penological purpose of
 4    the death penalty continues to be served more than two decades after the death sentence
 5    was imposed. Rather, courts often rely on two justifications for rejecting the theory: first,
 6    that the delay is reasonably related to the state’s effort to safeguard the inmate’s
 7    constitutional rights by ensuring the accuracy of its death conviction and sentence, and
 8    second, that the delay is caused by the petitioner himself, and therefore cannot be
 9    constitutionally problematic.18 The facts here, however, show that at least as to
10    California’s administration of its death penalty system, such assumptions are simply
11    incorrect.
12

13           The Court pauses first to note the arguments that the State is not making in
14    opposition to Mr. Jones’s claim. The State is not arguing that the delay in Mr. Jones’s
15    execution is an isolated incident in a system that otherwise operates as expeditiously as
16    possible to execute those sentenced to death.19 Nor does the State argue that it is rational
17    or necessary for it to take more than two decades to provide Death Row inmates with the
18
      18
19
         For example, in Anderson, the California Supreme Court found that “the automatic appeal
      process following judgments of death is a constitutional safeguard, not a constitutional defect.”
20    25 Cal. 4th at 606. Similarly, Justice Clarence Thomas, concurring in the Supreme Court’s
      denial of certiorari in Thompson v. McNeil, argued that “[i]t makes ‘a mockery of our system of
21
      justice . . . for a convicted murderer, who, through his own interminable efforts of delay . . . has
22    secured the almost-indefinite postponement of his sentence, to then claim that the almost-
      indefinite postponement renders his sentence unconstitutional.’ ” 556 U.S. 1114, 129 S. Ct.
23    1299, 1301 (2009) (Thomas, J., concurring in the denial of certiorari) (quoting Turner v. Jabe,
      58 F.3d 924, 933 (4th Cir. 1995) (Luttig, J., concurring in judgment)).
24
      19
         Unlike Mr. Jones’s claim here, in previous instances where federal courts have been
25
      presented claims of unconstitutional delay preceding execution, they have generally appeared in
26    the context of claims brought by inmates in whose individual cases the delay was extraordinary.
      See, e.g., Lackey v. Texas, 514 U.S. 1045 (17 years of delay); Smith v. Mahoney, 611 F.3d 978
27    (9th Cir. 2010) (25 years of delay). In those cases, however, the petitioner did not argue, as does
      Mr. Jones here, that his execution would be arbitrary and serve no penological purpose because
28
      of system-wide dysfunction in the post-conviction review process.
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 1    process required to ensure that their death sentence comports with constitutional
 2    requirements. Indeed, the State cannot reasonably make these arguments.
 3

 4           On the record before it, the Court finds that much of the delay in California’s post-
 5    conviction review process is created by the State itself, not by inmates’ own interminable
 6    efforts to delay.20 Most Death Row inmates wait between three and five years for
 7    counsel to be appointed for their direct appeal. After the issues are briefed on direct
 8    appeal, another two to three years are spent waiting for oral argument to be scheduled
 9    before the California Supreme Court. On state habeas review, far from meeting the ideal
10    goal of appointing state habeas counsel shortly after the death verdict, at least eight to ten
11    years elapse between the death verdict and appointment of habeas counsel. When that
12    counsel is appointed by the State, investigation of potential claims is hampered by
13    underfunding, which in turn slows down the federal habeas review process. Then, after
14    state habeas briefs are submitted, another four years elapse before the California Supreme
15    Court issues a generally conclusory denial of the inmate’s claims. This lack of a
16    reasoned opinion further slows adjudication of inmates’ federal habeas claims. Finally,
17    even after filing a petition for federal habeas review, many inmates, often because of
18    deficiencies rooted in the State’s process, must stay their federal cases to exhaust claims
19    in state court.
20

21           These delays—exceeding 25 years on average—are inherent to California’s
22    dysfunctional death penalty system, not the result of individual inmates’ delay tactics,
23    except perhaps in isolated cases. See generally Appendix A (showing that very few of
24    California’s Death Row inmates have completed the state and federal post-conviction
25

26    20
         Indeed, in Mr. Jones’s case, there is no evidence of frivolous filings or unreasonable delay
27    caused by Mr. Jones. Rather, the unnecessary delay in his case—as in the cases of most other
      Death Row inmates—is attributable to structural problems inherent in California’s death penalty
28
      system.
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 1    review process, even 20 years after being sentenced to death). That such delays are not
 2    reasonably necessary to the fair administration of justice is evident. In 2008, the
 3    Commission recommended a series of related reforms that, in its view, would help
 4    alleviate delay inherent in California’s death penalty system. The Commission’s
 5    recommendations included more adequately funding the system and removing the
 6    requirement that death penalty appeals must be automatically heard by the California
 7    Supreme Court rather than the state’s intermediate courts of appeal. See Commission
 8    Report at 124. Through its proposed reforms, the Commission estimated that the delay
 9    between sentencing and execution of a Death Row inmate could be reduced to between
10    11 and 14 years.21 See id. So reducing California’s time to execution would bring
11    California closer to, or even below, the national average, which between 2000 and 2012
12    was approximately 12.5 years, and in 2012 was 15.8 years.22
13

14          The Commission’s proposal, and the experience of other states across the
15    country—which, on average, take substantially less than 20 years, let alone 25 or 30
16    years, to adjudicate their post-conviction review process—demonstrate that the inordinate
17    delay in California’s death penalty system is not reasonably necessary to protect an
18    inmate’s rights. Moreover, there is no basis to conclude that inmates on California’s
19    Death Row are simply more dilatory, or have stronger incentives to needlessly delay the
20    capital appeals process, than are those Death Row inmates in other states. Most of the
21    delay in California’s post-conviction process then is attributable to California’s own
22    system, not the inmates themselves.
23

24    21
         Whether the State adopts the Commission’s proposed reforms, or any others, is a policy
25    question beyond the scope of this proceeding. But the proposals are relevant to supporting Mr.
      Jones’s claim that the delay in California is of a structural and systemic nature, and are cited
26    here for that purpose.
      22
27      United States Dep’t of Justice, Bureau of Justice Statistics, NCJ 245789, Capital Punishment,
      2012—Statistical Tables (May 2014) at 14, available at http://www.bjs.gov/content/pub/pdf/
28
      cp12st.pdf.
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 1          Of course, the Court’s conclusion should not be understood to suggest that the
 2    post-conviction review process should be curtailed in favor of speed over accuracy.
 3    Indeed, it bears noting that in more than half of all cases in which the federal courts have
 4    reviewed a California inmate’s death sentence on habeas review, the inmate has been
 5    granted relief from the death sentence. See Appendix A. The post-conviction review
 6    process is, therefore, vitally important. It serves both the inmate’s interest in not being
 7    improperly executed, as well as the State’s interest in ensuring that it does not improperly
 8    execute any individual. Nevertheless, the Court holds that where the State permits the
 9    post-conviction review process to become so inordinately and unnecessarily delayed that
10    only an arbitrarily selected few of those sentenced to death are executed, the State’s
11    process violates the Eight Amendment. Fundamental principles of due process and just
12    punishment demand that any punishment, let alone the ultimate one of execution, be
13    timely and rationally carried out.
14

15       D. Procedural Bars to Federal Collateral Review
16

17          The State argues that Mr. Jones’s claim is procedurally barred. Specifically, the
18    State contends that Mr. Jones has not exhausted available state remedies as required
19    under the Anti-Terrorism and Effective Death Penalty Act (AEDPA), 28 U.S.C.
20    § 2254(b). Federal courts generally may not grant habeas relief to an individual in state
21    custody unless that individual has first exhausted the remedies available in state court.
22    See 28 U.S.C. § 2254(b)(1)(A). However, where “circumstances exist that render [the
23    state] process ineffective to protect the rights of the applicant,” exhaustion is not
24    required. 28 U.S.C. § 2254(b)(1)(B)(ii). The Court has determined that systemic delay
25    caused by the dysfunctional state review process has resulted in the arbitrary selection of
26    a small handful of individuals for execution, and has therefore rendered Mr. Jones’s death
27    sentence unconstitutional. Requiring Mr. Jones to return to the California Supreme Court
28    to exhaust his claim would only compound the delay that has already plagued his post-

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 1    conviction review process. See Laurence Decl. ¶ 16 (noting that, on average, 3.19 years
 2    elapse before an exhaustion petition in a capital habeas case is decided by the California
 3    Supreme Court). More importantly, it would require Mr. Jones to have his claim
 4    resolved by the very system he has established is dysfunctional and incapable of
 5    protecting his constitutional rights. Special circumstances clearly exist such that Mr.
 6    Jones need not return to the California Supreme Court to exhaust his claim. Cf. Phillips
 7    v. Vasquez, 56 F.3d 1030, 1035 (9th Cir. 1995) (“[E]xtraordinary delay in the state courts
 8    can render state corrective processes ‘ineffective’ within the meaning of section 2254(b)
 9    [such] that exhaustion is not required . . . .”) (citation omitted); Jones v. Tubman, 360 F.
10    Supp. 1298, 1300 (S.D.N.Y. 1973) (“[E]xhaustion is not mandated where the state
11    consideration would be either futile or where state procedures do not provide swift
12    review of petitioner’s claims.”).
13

14          While not specifically addressed by the State, the Court considers a second
15    procedural defense commonly raised to avoid federal habeas review: that the petitioner’s
16    claim seeks the announcement of a new rule on collateral review and is therefore barred
17    under Teague v. Lane, 489 U.S. 288, 306 (1989).23 The rule Mr. Jones seeks to have
18    applied here—that a state may not arbitrarily inflict the death penalty—is not new.
19    Rather, it is inherent in the most basic notions of due process and fair punishment
20    embedded in the core of the Eighth Amendment. See Furman, 408 U.S. at 274–77
21    (Brennan, J., concurring) (describing the principle that “the State must not arbitrarily
22    inflict a severe punishment” as “inherent in the [Cruel and Unusual Punishment] Clause”
23    and tracing its application in Anglo–American jurisprudence); see also id. at 242
24    (Douglas, J., concurring) (“There is evidence that the provision of the English Bill of
25    Rights of 1689, from which the language of the Eighth Amendment was taken, was
26
      23
27       Because there is no underlying state court ruling on the merits of Mr. Jones’s claim of
      arbitrariness in California’s death penalty system, the Court does not consider the claim under
28
      AEDPA’s deferential standard of review. See 28 U.S.C. § 2254(d).
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 1    concerned primarily with selective or irregular application of harsh penalties and that its
 2    aim was to forbid arbitrary and discriminatory penalties of a severe nature.”). This rule is
 3    certainly one “so deeply embedded in the fabric of due process that everyone takes it for
 4    granted.” Dyer v. Calderon, 151 F.3d 970, 984 (9th Cir. 1998) (en banc). It is therefore
 5    not a new rule for Teague purposes. See id. (“[A] rule needs to be announced for
 6    purposes of Teague only if it’s new.”).
 7

 8                                           *      *     *
 9

10           When an individual is condemned to death in California, the sentence carries with
11    it an implicit promise from the State that it will actually be carried out. That promise is
12    made to the citizens of the State, who are investing significant resources in furtherance of
13    a punishment that they believe is necessary to achieving justice. It is made to jurors who,
14    in exercise of their civic responsibility, are asked to hear about and see evidence of
15    undeniably horrific crimes, and then participate in the agonizing deliberations over
16    whether the perpetrators of those horrific crimes should be put to death. It is made to
17    victims and their loved ones, for whom just punishment might provide some semblance
18    of moral and emotional closure from an otherwise unimaginable loss. And it is made to
19    the hundreds of individuals on Death Row, as a statement their crimes are so heinous they
20    have forfeited their right to life.
21

22           But for too long now, the promise has been an empty one. Inordinate and
23    unpredictable delay has resulted in a death penalty system in which very few of the
24    hundreds of individuals sentenced to death have been, or even will be, executed by the
25    State. It has resulted in a system in which arbitrary factors, rather than legitimate ones
26    like the nature of the crime or the date of the death sentence, determine whether an
27    individual will actually be executed. And it has resulted in a system that serves no
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 1    penological purpose. Such a system is unconstitutional. Accordingly, the Court hereby
 2    VACATES Mr. Jones’s death sentence.
 3

 4

 5          DATED:      July 16, 2014
 6                                               __________________________________
 7                                                     CORMAC J. CARNEY
 8                                               UNITED STATES DISTRICT JUDGE
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